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  7
                                     UNITED STATES DISTRICT COURT
  8
                      CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  9
 10   MARCIANO TOPETE,                          )        CASE NO. 8:17-CV-01721 AG (JDEx)
                                                )        [Originally Orange County Superior Court
 11                Plaintiff,                   )        Case No.: 30-2017-00930423-CU-OE-CJC]
                                                )
 12           vs.                               )        DECLARATION OF JONATHAN JACKEL
                                                )        IN OPPOSITION TO DEFENDANT’S
 13   RED ROBIN INTERNATIONAL, INC., a )                 MOTION FOR PARTIAL SUMMARY
      Nevada Corporation, doing business as RED )        JUDGMENT
 14   ROBIN BURGER AND SPIRITS                  )
      EMPORIUMS, and DOES 1 through 20, )                Filed concurrently with Plaintiff’s
 15   inclusive,                                )        Memorandum of Points and Authorities,
                                                )        Declarations of Marciano Topete and Erik
 16                Defendants.                  )        Carpenter, Plaintiff’s Opposition to Defendant
                                                )        Separate Statement of Uncontroverted Facts,
 17                                             )        Plaintiff’s Statement of Genuine Disputes, and
                                                )        Plaintiff’s Compendium of Exhibits]
 18                                             )
                                                )        Date:          August 20, 2018
 19   ____________________________________)              Time:          10:00 a.m.
                                                         Location:      Courtroom 10D
 20
 21            I, Jonathan Jackel, declare:
 22            1.     I am one of the attorneys of record for plaintiff Marciano Topete and submit this
 23   declaration in opposition to defendant’s motion for summary adjudication. If called as a witness I
 24   could and would testify competently to the following.
 25            2.     Attached to the Appendix as Exhibit 1 are excerpts and exhibits from the deposition
 26   of plaintiff Marciano Topete that was taken on April 30 and June 22, 2018.
 27            3.     Attached to the Appendix as Exhibit 2 are excerpts from the deposition of Adin
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  1   Philleo that was taken on May 2, 2018.
  2            4.      Attached to the Appendix as Exhibit 3 are excerpts from the deposition of Rebecca
  3   Bailey that was taken on May 2, 2018.
  4            5.      Attached to the Appendix as Exhibit 4 are excerpts from the deposition of Karin
  5   Davie that was taken on May 4, 2018.
  6            6.      Attached to the Appendix as Exhibit 5 is a copy of a page from the California
  7   Appendix of defendant Red Robin’s Employee Handbook that was produced by Red Robin in
  8   response to plaintiff’s Request for Production of Documents.
  9            7.      Attached to the Appendix as Exhibit 6 is a copy of a May 5, 2017 letter from
 10   defendant’s Workers’ Compensation Administrator stating in response to plaintiff’s restrictions
 11   following a workplace injury that plaintiff may “lift” and “push/pull up to 25 lbs Frequently - up to 6
 12   hours/day.” This letter was produced by defendant in response to plaintiff’s inspection demand.
 13            8.      Attached to the Appendix as Exhibit 7 is a copy of a March 28, 2017 email from
 14   Caren Bertain to Amy Jones, reporting that plaintiff “feels like he was working too hard with Watson
 15   and was forced into hourly positions.” This letter was produced by defendant in response to
 16   plaintiff’s inspection demand.
 17            9.      Attached to the Compendium of Exhibits as Exhibit 9 is a three page “meet and
 18   confer” letter that Sean Daley, one of defendant’s attorney’s, emailed to me on July 18, 2018. Mr.
 19   Daley’s letter indicated that he intended to file a motion for summary adjudication of issues and cited
 20   authority in support of his client’s positions. The letter only gave us until the following day, July 19,
 21   2018, to respond and stated that defendant would file a motion for summary judgment if we did not
 22   do so.
 23            10.     After receiving the “meet and confer” letter from Mr. Daley I sent an email to his
 24   law firm pointing out that it was unreasonable for him to expect us to respond by the next day. I
 25   pointed out that under Local Rule 7-3 a motion for summary judgment cannot be filed until seven
 26   days after sending a “meet and confer” letter and that I would respond within that time period. This
 27   meant that defendant could not file its motion until July 25, 2018. Defendant’s attorney responded in
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  1   an email later that day in which he indicated that defendant would not file the motion until July 25,
  2   2018. His email also asked us to stipulate to a special setting on August 27, 2018, since the last day
  3   for motions for summary judgments to be heard is August 23, 2018, and motions are only heard on
  4   Mondays. I responded to his email later that evening, stating that we could talk to him about this on
  5   Monday, July 23, 2018.
  6             11.     On Monday, July 23, 2018, my partner and I called Mr. Daley and explained to him
  7   that we could not stipulate to a special setting of a hearing on August 27, 2018 because we had
  8   already made plans to go on vacation. We explained to him that my partner, Nora Rousso, had
  9   reservations to fly Greece on July 31, 2018, and will be gone for almost three weeks, and that I had
 10   plans to go up to go on vacation in Lake Tahoe for a week, starting on August 8, 2018, with some
 11   friends who are traveling there from the East Coast. If the hearing was going to be on August 27,
 12   2018, the deadline for filing an opposition would be August 6, 2018, so this would interfere with our
 13   plans. I asked Mr. Daley what the “good cause” would be for requesting a special setting. He did
 14   not say what it was. Instead, he said he could file the motion by midnight of July 23, 2018, so that it
 15   could be heard on August 20, 2018. I pointed out that this would not comply with Local Rule 7-3
 16   and that we would have to be personally served by the end of the day, but that did not seem to phase
 17   him. During the course of this conversation we also discussed the merits of defendant’s motion, but
 18   we were unable to resolve any of the issues described in his “meet and confer” letter.
 19             12.     Defendant electronically filed its Motion for Partial Summary Judgment on July 23,
 20   2018. It was obviously already prepared when we spoke to him earlier that day, so it appears that
 21   defendant intended to file the motion regardless of what we had to say in response to its “meet and
 22   confer” letter.
 23             13.     We did not receive a copy of defendant’s Motion for Partial Summary Judgment
 24   until defendant’s law firm emailed it to us on July 24, 2018. When I arrived at my office later that
 25   day, a hard copy was left in an envelope in front of the door. A link to digital copies was emailed to
 26   me by Fisher & Phillips later that day. We did not receive a hard copy from the District Court’s
 27   Electronic Filing Program. I assume that this is because this is the first time we are actually filing
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  1   documents with the District Court in this case and had not consented to electronic service of
  2   documents through the CM/ECF system. As a result, we only had six days in which to prepare
  3   plaintiff’s opposition to defendant’s motion.
  4            I declare under penalty of perjury that the foregoing is true and correct. Executed on July
  5   30, 2018 in Campbell, California.
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                                                                     /s/ Jonathan Jackel
  8                                                                JONATHAN JACKEL
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